        Case
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AO 94 (Rev. 01/09) Commitment to Another District



                                   United States District Court
                                                            for the
                                                    Western District of Texas

                 United States of America                             )
                             v.                                       )
                 (1) Philip Taylor Sobash                             )       Case No.     AU:24-M -00885(1)
                           Defendant                                  )
                                                                      )           Charging District’s
                                                                      )           Case No. 3:24-00217


                                    COMMITMENT TO ANOTHER DISTRICT

                                                                                         District of Tennessee, Nashville
The defendant has been ordered to appear in the              Middle       District of                 Division                  .

The defendant may need an interpreter for this language:                                                                    .

         The defendant:         X will retain an attorney.

                                    is requesting court-appointed counsel.

         The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy
of this order, to the charging district and deliver the defendant to the United States marshal for that district,
or to another officer authorized to receive the defendant. The marshal or officer in the charging district
should immediately notify the United States attorney and the clerk of court for that district of the
defendant’s arrival so that further proceedings may be promptly scheduled. The clerk of this district must
promptly transmit the papers and any bail to the charging district.



December 18, 2024                                              ______________________________
                                                               DUSTIN M. HOWELL
                                                               UNITED STATES MAGISTRATE JUDGE




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